IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NORTHEASTERN DIVISION
JOHN SCOTT MAAS, )
)
Plaintiff, )
)
v. ) Civil Action No. 2:20-cv-00051
) Judge Waverly D. Crenshaw, Jr.
BP EXPLORATION AND PRODUCTION, ) Magistrate Judge Alistair Newbern
INC. and BP AMERICA PRODUCTION )
COMPANY, )
)
Defendants. )

PLAINTIFF’S NOTICE OF THE FILING OF THE
AFFIDAVITS OF DR. CHARLES JACKSON WRAY

Plaintiff herewith provides notice of the filing of the swom affidavit and
supplemental affidavit of CHARLES JACKSON WRAY for all purposes permitted by the Federal
Rules of Civil Procedure, including the Plaintiff's response to Defendant’s Motion for Summary
Judgment.

Respectfully Submitted,
BURGER SCOTT & MCFARLIN
s/Wm. KennerlyBurger

Wm. Kennerly Burger

Tn BPR 3731

#12 North Public Square

Murfreesboro, Tennessee 37130
615-893 8933

An exact copy of the above has been forwarded by e-mail and regular U.S mail to the
following: Howard E. Jarvis, 12144 Southwick Circle, Farragut, TN 37934
( hjarvis@maronmarvel.com); Chan E. McLeod, 1020 Highland Colony Parkway, Suite 400,
Richland MS 39157 (cmcleod@maronmarvel.com) this 22d day of October, 2021.

/sWm.KennerlyBurger

Case 2:20-cv-00051 Document 98 ‘Filed 10/22/21 Page 1 of 34 PagelD #: 1044
IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NORTHEASTERN DIVISION
JOHN SCOTT MAAS, )
)
Plaintiff, )
)
v. “ ) Civil Action No. 2:20-cv-00051
) Judge Waverly D. Crenshaw, Jr.
BP EXPLORATION AND PRODUCTION, ) Magistrate Judge Alistair Newbern
INC. and BP AMERICA PRODUCTION )
COMPANY, )
)
Defendants. )

PLAINTIFF’S RULE 26 EXPERT DISCLOSURE OF CHARLES J. WRAY, M.D.

1. The undersigned, Charles J. Wray, M.D., is a licensed medical doctor, specializing
in pulmonology, and presently affiliated with the Frist Clinic, 330 23" Avenue North, Suite 500,
Nashville, Tennessee 37203 (Telephone: 615-342-5900). Attached as Exhibit “1” is my current
Curriculum Vitae which I affirm to be complete and current to the best of my knowledge. The
publications which I have offered are described on my attached CV. I have not offered actual court
testimony in any case in the four years preceding this affidavit.

2. I have treated John Scott Maas (DOB: 02-08-1963) for “severe asthma and
restrictive lung disease” since 2019. He remains under my care. Attached as Exhibit “2” are my
office treatment notes reflecting Mr. Maas’ diagnosis and treatment plan, including an earlier
statement to Mr. Maas’ counsel reflecting my opinion, and my advice to Mr. Maas that the
“probable” source of his severe pulmonary problems was his repetitive exposure to a chemical oil
dispersant known as “Corexit.” Mr. Maas has affirmed that he was regularly exposed to Corexit

on a daily basis, for approximately twelve (12) hours per day for two (2) months,

Case 2:20-cv-00051 Document98- Filed 10/22/21 Page 2 of 34 PagelD #: 1045
3.

regarding the reasoning behind my chart notes and my opinions regarding medical causation.
Please note that, for purposes of every opinion that I have expressed, I preliminarily have
accepted as factually complete and correct both Mr. Maas’ statements about his exposure to
Corexit; his history of no prior respiratory issues; and the findings in the records of other
physicians who have previously treated and diagnosed Mr. Maas. Should it be determined
that those facts are not accurate or complete, I would reserve the right to alter my opinions

accordingly. My diagnosis and treatment are based upon what appear to be credible and complete

I have been asked to provide a more detailed statement reflecting my opinions

information regarding the etiology of Mr. Maas’ present severe respiratory debilitation.

4,

following:

(a)

(b)
(c)
(d)
(e)

(f)

Case 2:20-cv-00051

In formulating the details contained in this disclosure, I have relied upon the

My own medical chart for Mr. Maas attached as noted above (Zip Drive,
Ex: 2);

Environmental Protection Agency Material Safety Data Sheets for Corexit:
The Affidavit of John Scott Maas;
A draft of the statement of Dr. Veena B. Antony;

Treatises describing the principles and methodology used by Corexit
medical researchers in defining the minimal level of exposure to Corexit
that will create harm to the human respiratory system. That includes, but is
not limited to, a treatise authored by Dr. Veena B. Antony (University of
Alabama at Birmingham Medical F acility) entitled “Heme Oxygenase-
1 Protects Corexit 9500A-Induced Respiratory Epithelial Injury across
Species,” Veena B. Antony, et al., published April 2, 2015, copy
attached, and incorporated herein by reference (Zip Drive, Ex. 2);

Accepting, for purposes of my opinions, the accuracy and completeness
of the facts related by Mr. Maas, it is my opinion, upon a standard of
reasonable medical certainty, that it is “likely” or “more probable than not”
that Mr. Maas’ exposure to Corexit that was sprayed from the air, or burned
in combination with crude oil, produced aerosolized exposure in sufficient
quantities to cause damage to the epithelial cells of the respiratory system

2

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based upon the biologic mechanism described in the attached treatise,
incorporated herein by reference, the damage to the epithelial cells produces
an inflammatory response to the respiratory cells, which may produce a
swelling that may inhibit respiratory function.

(g) As to the methodology used in describing the biologic plausibility of the

respiratory harm resulting from even minimal ingestion of Corexit, I accept
the findings of Dr. Antony’s research treatise, and incorporate the contents,
attached hereto.

5. Mr. Maas claims he is not, and has never been, a smoker. His records demonstrate
no family history of COPD, asthma or other respiratory conditions. From a differential diagnosis
perspective, no medical records have been reviewed by me which suggest a prior history of any
type of pre-existing respiratory problems prior to his exposure to the Corexit. Corexit is a known,
well-documented chemical irritant that, upon exposure, produces burning of the areas exposed,
including the eyes, nose, throat, and chest (see attached the Manufacturer’s EPA Material Safety
Data Sheet). Reliable and trustworthy research confirms the biological mechanism, as detailed in
the attached affidavit. In Mr. Maas’ case, it is probable that his chemically-induced asthma
commenced with his described (see affidavit) 2010 Corexit intense exposure in which he describes
(12 hours per day for about two months). The resulting harm has progressed, with age, to the point

of respiratory debilitation. The specific diagnosis, based upon the exposure to breathing of Corexit,

is “severe asthma and restrictive lung disease.” The research reviewed suggests that his level

of epithelial cell respiratory damage caused by Corexit may require very minimal respiratory
ingestion, much less daily regular breathing of the aerosolized or burning fumes of Corexit. Air
quality testing in the zone that was patrolled and cleaned by Mr. Maas and his crew have been
helpful in elaborating on that aspect of the causation issue, but (reportedly) that information has
been requested from BP and not provided. Of greater diagnostic importance, it is significant to

note that the individual variations in cell damage may idiopathically occur in certain individuals

3
Case 2:20-cv-00051 Document98_ Filed 10/22/21 Page 4 of 34 PagelD #: 1047
for reasons not known or unknowable (see attached Antony treatise). Depending on the highly
individualized response, Corexit may induce the expression of Heme Oxygenase-1 (HO-1), a cyto-
protected enzyme with anti-apoptotic and anti-oxidant activity in the human bronchial airway
epithelium. That substance is a protectant against Corexit-induced inflammation and cellular
apoptosis. Otherwise stated, the ability of certain individuals to generate that protective substance,
in response to the Corexit-induced inflammation, may define the ability of some individuals to
avoid or delay long-term permanent respiratory problems, while other individuals (who
idiopathically do not produce the same HO-1 response) may suffer serious respiratory harm.
Concisely, it is my opinion that any breathing of the highly toxic, chemical irritant “Corexit” may
cause permanent respiratory harm, particularly in individuals who idiopathically are more
susceptible to that damage than others who may be natural resistant. Certainly, without doubt, if

Mr. Maas is correct in his claim that he and his crew members personally observed the spraying

of Corexit from airplanes, in their immediate vicinity, and that they immediately experienced
severe eye, nose and throat burning, that exposure is certainly enough to cause the type of
chemically-induced asthma presently suffered by Mr. Maas, and as described in the Corexit

research treatises that I have reviewed (copies attached).
6. The biologic mechanism supporting the likelihood of injury from repeated exposure

to Corexit is concisely described in the following quotation from the attached treatise researched

and co-authored by Dr. Antony:

“Having established that CE (Corexit) exposure induces apoptosis of
epithelial cells, we next investigated the underlying molecular mechanisms causing
cell death. Overproduction of ROS can cause apoptosis by inducing mitochondrial
dysfunction and subsequent release of pro-apoptotic factors and ROS directly
induces capese-free-dependent apoptosis. Intracellular ROS generation was
evaluated by pre-incubating BEAS-2B cells with a fluorescent probe, DCFDA,
which can be oxidized by H202. ROS generation was augmented after three hours
of exposure to CE (Corexit) in a dose-dependent manner. ... Our results suggest

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Case 2:20-cv-00051 Document98- Filed 10/22/21 Page 5 of 34 PagelD #: 1048
cell death. Overproduction of ROS can cause apoptosis by inducing mitochondrial
dysfunction and subsequent release of pro-apoptotic factors and ROS directly
induces capese-free-dependent apoptosis. Intracellular ROS generation was
evaluated by pre-incubating BEAS-2B cells with a fluorescent probe, DCFDA,
which can be oxidized by H202. ROS generation was augmented after three hours
of exposure to CE (Corexit) in a dose-dependent manner. ... Our results suggest
that ROS production and oxidative stress lead to apoptosis in epithelial cells
exposed to CE (Corexit).” Antony, copy attached, p. 7 of 16.

7. As Mr. Maas’ diagnosing and treating pulmonologist, it is my opinion, based upon
reasonable medical certainty, that it is probable that the level of exposure described by Mr. Maas
to aerosolized (by spraying or burning) Corexit-saturated crude oil, was substantially sufficient
exposure to cause harm to the epithelial cells of Mr. Maas’ airways, resulting in a progressive
decline (as he has aged) in his respiratory function. I support the treatise findings describing the
“general causation” considerations confirming that even minimal Corexit exposure can cause

severe cell damage that is irreversible in some individuals, based upon their individual propensities

to resist that cellular damage by their ability to respond to the chemically-induced inflammation
by a naturally occurring protective agent, HO-1. Corexit is an acknowledged, highly toxic
chemical irritant to human contact, particularly the sensitive respiratory airways. In Mr. Maas?
case, the facts summarized suggest no basis for any differential diagnosis, leading to the
“probable” conclusion (more likely than not) that his claimed daily exposure to Corexit for two
months in the Summer of 2010 damaged the epithelial cells in his respiratory system, producing
the present diagnosis of chemically induced asthma and resulting restrictive lung disease.

WITNESS MY HAND this the_8*4 day of Pxpe7\ 2021.

CMAs

Charles J. Wray, MLD.

Case 2:20-cv-00051 Document98_ Filed 10/22/21 Page 6 of 34 PagelD #: 1049
Wy,
\ /

Notary Publié, %-

XO Ky cS
oa S|
% Gi Peecees, i ~

os : nny
My Commission Expires: | - 30 —- Q02 i

Prepared by:

BURGER, SCOTT & McFARLIN

/s/Wm. Kennerly Burger

Wm. Kennerly Burger, BPR #3731
Attorney for Plaintiff

12 Public Square North
Murfreesboro, TN 37130

Telephone: (615) 893-8933
Facsimile: (615) 893-5333

kenburger@comeast.net

CERTIFICATE OF SERVICE

I hereby certify that a true and exact copy of the foregoing was forwarded, via electronic
filing, to the following: Howard E. Jarvis ( hjarvis@maronmarvel.com), Maron, Marvel, Bradley,
Anderson & Tardy, LLC, 12144 Southwick Circle, Farragut, TN 37934, on this the Gtu day of

hOR \L.___, 2021.
tuo

/s/Wm. Kennerly Burger
Wm. Kennerly Burger

cc: Mr. Christian K. Burger
Ms. Claire Burger Perkins
Mr. Trey McFarlin
Mr. John Scott Maas

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Case 2:20-cv-00051 Document98- Filed 10/22/21 Page 7 of 34 PagelD #: 1050
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6153426079 04:17:39 p.m, 04-08-2021 718

Charles Jackson Wray, MD

The Frist Clinic ¢ 300 23 Avenue North ¢ Suite 500 © Nashville, TN 37203 © 615-342-5900

EDUCATION: e University of California San Diego - San Diego, CA
Pulmonary & Critical Care Fellow, 2004-2007

e Vanderbilt University School of Medicine - Nashville, TN
Hugh J. Morgan Chief Resident in Internal Medicine, 2003-2004
Internal Medicine Resident, 2000-2003
M.D., May 2000

¢ Dartmouth College - Hanover, NH
B.A. in Engineering Sciences, Minor in French, June 1996

EMPLOYMENT: © The Frist Clinic - Nashville, TN
Pulmonary, Critical Care, & Sleep Medicine, 2007-Present

° Escondido Pulmonary Group - Escondido & Poway, CA
Pulmonary & Critical Care Locum Tenens, 2005-2006

e San Diego VA Medical Center - La Jolla, CA
Emergency Room Attending Physician, 2005-2006

¢ Kindred Hospital - San Diego, CA
Evening Physician, 2005-2006 _ Repti rire

¢ Skyline Medical Center - Nashville, TN
Evening Physician, ICU, 2003-2004

LEADERSHIP: e Director, Quality Program
Select Specialty Hospital Nashville, 2021-Present

° Director, Pharmacy & Therapeutics Program
Select Specialty Hospital Nashville, 2007-2021

¢ Member, Medical Executive Committee “coo css eee
Select Specialty Hospital Nashville, 2007-Present ae es
¢ Member, Centennial Medical Staff Association Finance Committee

Centennial Medical Center Nashville, 2018-Present

e Member, Medical Executive Committee
Centennial Medical Center Nashville, 2015-2020

RESEARCH: e Hemodynamic Predictors of Post-Operative Outcomes following Pulmonary
Thromboendarterectomy for Chronic Thromboembolic Pulmonary Hypertension.

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Charles Jackson Wray, Page 2

PUBLICATIONS:

¢ Wray CJ, Auger WA. Evaluation of patients for pulmonary endatteréctoniy:i Semin
Thorac Cardiovasc Surg 2006; 18:223-9, FS Semen

° Wray CJ, Morris TA. Thromboembolic disease: therapy. In: Bordow RA, Ries AL,
Morris TA, eds. Manual of clinical problems in pulmonary medicine. 6" edition.
Philadelphia, PA: Lippincott Willams & Williams, 2005.

PRESENTATIONS: «

“Use of Omalizumab for Cessation of Corticosteroid Therapy in a Patient with
Sarcoidosis, Aspergillomas, Long-Standing Asthma, and Allergic Pp
Bronchopulmonary Aspergillosis.” Western Region American Federation foi"
Medical Research Meeting. Carmel, CA. Feb 2006. 7g eee

tier) Lolly eip in

¢ “Pulmonary Vascular Resistance and Pulmonary Thromboendartecectomy:.A,...

Prospective Study.” American Thoracic Society International wo

Conference. San Francisco, CA. May 2007. yO ASAE.
4H

¢ “Correlation between Preoperative Fractional Pulse Pressure and Early
Hemodynamic Outcomes after Pulmonary Thromboendarterectomy.” American
Thoracic Society International Conference, San Francisco, CA, May 2007.

« “Preoperative Clinical Predictions of Early Postoperative Hemodynamic Outcotiies
after Pulmonary Thromboendarterectomy.” American Thoracic Society > f 77"
International Conference. San Francisco, CA, May 2007. =

LICENSURES &
CERTIFICATIONS:

¢ Tennessee Medical License

* Board Certification in Internal Medicine, August 2003

° Board Certification in Pulmonary Disease, October 2007 i.
° Board Certification in Critical Care Medicine, November 2008 _
* Board Certification in Sleep Medicine, November 2009

HONORS:

e American Federation for Medical Research Pulmonary and Critical Care Award,
2006 COME

¢ General Internal Medicine Outstanding Resident Award, Vanderbilt, 2002 '

e Tom E. Nesbitt Award for Character & Leadership, Vanderbilt, 2000 So

° Benjamin F. Byrd Cardiovascular Research Award (AHA), T9QT EE" teenie sie

° Magna Cum Laude Graduate, Dartmouth College, 1996 oe me sees ~
¢ Philip R. Jackson Award for Improved Safety Device, Dartmouth College, 1995

Case 2:20-cv-00051 Document98-_ Filed 10/22/21

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Page 9 of 34 PagelD #: 1052
ZIP DRIVE

RECORDS

$$

WRAY AFFIDAVIT EX. 2

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Page 10 of 34 PagelD #: 1053
Internal Medicine

F, Karl VanDevender, M.D.
Louis C. Johnson, M.D.
John E. Anderson, M.D.
Marilynn Michaud, M.D.
Matthew J. Beuter, M.D.
Deepinder S. Bal, M.D.
David W. Allen, M.D.
Kevin S. McKechnic, M.D.
Kevin M. Rigtrup, M.D., Ph.D.
Chrystal G. Clamp, M.D.
Sterling I. Barrett, M.D.

W. Anthony Lizarraga, M.D.
Andrea M. Beck, M.D.
Robert L. Beck, M.D.

L. Cole Barfield, M.D.
David Reyes, M.D.

Regina Bowe, M.D.

Julie Caldwell, DNP, FNP-BC
Jan Muirhead, ANP-BC

R, Danielle Talley, FNP-BC

Pulmonary Disease,
Critical Care & Sleep
Medicine

David A. Jarvis, M.D.
Robert J. Mangialardi, M.D.
Salim S$, Mchio, M.D.

C. Jackson Wray, M.D.

Gastroenterology
Thomas J. Lewis, M.D.

A. Saeed Fakhruddin, M.D.
Ira E. Stein, M.D.

Jonathan A. Schneider, M.D.
Matthew Neff, M.D.

Anjali S. Shah, M.D,

Cassie Calder, ACNP-BC

A. Kathleen Nebel, FNP-BC
Elizabeth Baumstark, FNP-BC

Endocrinology,
Diabetes &

Metabolism

Michael G. Carlson, M.D.
Amanda L, Daniel, M.D.
Annis M. Mamey, M.D.
Bettina Engh, ACNP-BC, RD
Cherish Holt, APN-BC

Infectious Diseases
Juli G. Horton, M.D.
Sydney M. Hester, M.D.
Paul Bryant, M.D.

Neurology
Michael J. Kaminski, M.D.

Bl

TRI@STAR MEDICAL Group
The Frist Clinic

www.thefristelinic.com

December 11, 2020

William Kennerly Burger
Burger, Scott and McFarlin
in association of Attorneys
Murfreesboro, TN 37130
Fax#: 615-893-5333

RE: John Scott Maas
DATE OF BIRTH: 02/08/1963

Dear Mr. Burger:

I treat Mr. Maas for severe asthma and restrictive lung disease, which is probably
related to exposure to oil dispersants used during the cleanup from the 2010 deep

water horizon oil spill.

Sincerely,
CSUne)

C. Jackson Wray, MD

CW/SP

DD: = 12/11/2020

DT: — 12/11/2020
JOB ID: 35053442

330 23rd Avenue North, Suite $00 2400 Patterson St., Suite 400 330 23rd Ave. North, Suite 300

Nashville, TN 37203

Nashville, TN 37203 Nashville, TN 37203

Phone 615-342-5900 Fax 615-342-7864 Phone 615-342-5900 Fax 615-342-5912 Phone 615-342-6010 Fax 615-342-7898

Case 2:20-cv-00051 Document98- Filed 10/22/21 Page 11 of 34 PagelD #: 1054

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Page 1 of 3

MAAS, John S DOB: 02/08/1963 (57 yo M) Acc No. 8X101868423 Dos:

TRI@STAR MEDICAL GRouP
The Frist Clinic

11/05/2020

Maas, John S

57 Y old Male, DOB: 02/08/1963

Account Number: 8X101868423

505 Ripley Road, SPARTA, TN-38583

Home: 931-935-0449. .

Guarantor: Maas, JohnS Insurance: MEDICARE TN
PART B Payer ID: SMTNo

Appointment Facility: 303111FSC FRIST CLINIC SPECIALTY

11/05/2020

Current ‘jedications
Taking

directed Oraliy

Vitamin D3 1000 UNIT Tablet 1
tablet Orally Once a day, Notes: 5000
IU

Breo Ellipta 200-25 MCG/INH
Aerosol Power Breath Activated 1
puff Inhalatic-:: Once a day, Notes:

Verbal order :\r provider
Albuterol Su’ .11u (2.5 MG/3ML)
0.083% Neh: "ation Solution 3 ml
as needed In’. «sion every 8 hrs,
Notes: Verb: - : Jer per provider
Albuterol Su :.: (2.5 MG/3ML)
0.083% Neh ‘vation Solution 3 ml
as needed In’ iilation every 8 hrs,

Notes: Written Order Per Provider
Breo Ellipta 200-25 MCG/INH
Aerosol Powder Breath Activated 1
puff Inhalatic::: Once a day, rinse
mouth after. ‘ing, Notes: Written
Order Per Pr: « ider

Singulair 10‘ ‘Tablet 1 tablet
Orally Once. *.:y, Notes: Written
Order Per Pi «ier

Not-Taking
HydrOxYzit
directed Or::
Unknown
Lisinopril q« iG Tablet 1 tablet
Orally Onec. diy

Metoprolol I: trate 25 MG Tablet 1
tablet with {<1 Orally Twice a day

: ‘l1o MG Tablet as

Asmanex H! . «0 MCG/ACT

Aerosol 2 pi: . ‘uhalation Twice a

day

Medication: - reviewed and

reconciled: —-1e patient

Past Mx al History
Asthma,

CHARLES J. WRAY, MD CHN#: 1285662148

Reason for Appointment ‘

1, 1. Virtual Face-to-Face Visit (Portal/Facetime/Skype/Other) I
PHONE FACETIME 228 327 0459

2. 2. Verbal Informed Consent Obtained by Scheduling Staff (Co-
pays and Deductibles Apply) LM

3. 3. Provider Location [Office]. Patient Location [Home].

4. 4. Others Present for Visit (if applicable):

5. 5. Chief Complaint: FOLLOW UP ASTHMA

History of Present IlIness

' Patient History:

Follow-up visit. He continues to struggle from a respiratory, ., 2
standpoint. He has been off of the Breo for several months given how
expensive it is. He continues on Singulair. He is using albuterol as
needed. He was unable to complete the home sleep study we
arranged at his last visit. He continues to describe fatigue and poor
sleep quality. He tells me that more information has, now regarding
the dispersent that he used from his she up during the oil ship in
2009. He is also had a number of skin and digestive problems which:
she thinks are related to this as well.

Vital Signs
Ht 69 in, Wt 230 Ibs, BMI 33.96, Weight Change -22 Ib
HT AND WT PER PT LM.

Examination
PULMONARY : ,
General: no acute distress, conversant, obese. 2
Head: normocephalic.
Eyes: sclerae anicteric, eyelids intact.
Ears: normal external appearance of ears, hearing grossly
intact,
Nose: normal external appearance of nose.
Neck: supple.
Respiratory: normal respiratory effort.
Neurology: alert & oriented, normal speech, cranial nerves
II/VII/VII grossly intact.
Psych: normal affect, appropriate insight, normal mood.
Extremities: no clubbing, cyanosis, or edema of upper

Progress Note: CHARLES J. WRAY, MD 11/05/2020
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Page 2 of 3

MAAS, John S DOB: 02/08/1963 (57 yo M) Acc No. 8X101868423 DOS:

11/05/2020 -
on "tory of ARDS, | extremities. ue
a aia Spiromeitry performed June 7, 2019 revealed severe restriction’
with significant bronchodilator response. Best FVC was 2.39 L
Allergic , representing 51% of predicted.
N.K.D.A.

Chest CT scan performed July 17, 2019 was unremarkable.
Lab work from June 7, 2019 significant for IgE level of 232 and
eosinophil level of 0.2.

Assessments

1. Unspecified asthma - J45.909 (Primary)

2. Restrictive pattern present on pulmonary function testing - R94.2
3. Nonsmoker - 278.9

' 4. Snoring - Ro6.83

: 5. Chronic fatigue, unspecified - R53.82

reas se

History of chemical inhalation 2009.

Treatment

: 1. Others

Start Advair Diskus Aerosol Powder Breath Activated, 500-50
MCG/DOSE, 1 puff, Inhalation, Twice a day, 30 day(s), 1 Inhalers,
Refills 3

' Clinical Notes:

| Iwill try switching him to Advair 500/50 - 1 inhalation twice daily.
Rinse mouth afterwards . We also discussed Dulera and Symbicort as
| other options. Provide 6 months of refills on Singulair 10 mg p.o.
daily. Continue albuterol as needed. He is going to send me
additional information regarding the dispersent. I remain concerned
for symptomatic obstructive sleep apnea. Let us refer him once again
for home sleep study. I have instructed him to do it without .

: supplemental oxygen via nasal cannula. He plans to get the influenza
' vaccination soon. Reviewed action plan. Return to clinic in 6 months
: or sooner if needed.

Follow Up
6 Months

COWRAy

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Progress Note: CHARLES J. WRAY, MD 11/05/2020 Sek ais
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Page 3 of 3

MAAS, John S DOB: @2/08/1963 (57 yo M) Acc No. 8X101868423 DOs:
11/05/2620

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i Electronically signed by CHARLES WRAY , MD on
11/06/2020 at 10:15 AM CST

? Sign off status: Completed

$03111FSC FRIST CLINIC SPECIALTY
; 330 23RD AVEN

i SUITE 500

i NASHVILLE, TN 372031661

i Tel: 615-342-5900

i Fax: 615-342-7863

Progress Note: CHARLES J. WRAY, MD 11/05/2020
Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)

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Page | of 3

Bl Maas, John S
wi 56 Y¥ old Male, DOB: 02/08/1963

Account Number: 8X101868423

TRI@STAR MEDICAL GROUP 505 Ripley Road SPARTA, TN-38583
8 e 4 ome: 931-935-0449

The Frist Clinic Guarantor: Maas, JohnS Insurance: MEDICARE TN

PART B Payer ID: SMTNo
Appointment Facility: 303111FSC FRIST CLINIC SPECIALTY

01/17/2020 PROGRESS NOTE: CHARLES J. WRAY, MD CHN#: 1285662148 ..
Current Me:!ications Reason for Appointment
Taking ! 1.6mof/u

+ Albuterol Sulfate 111A 108 (90 Base)

MCG/ACT Aeros... Solution 2 puffs as 4 pas
nseded th kulation every 4 hrs i History of Present Illness

+ Gabapentin 600 +:G Tablet as directed : Patient History: . oS
i Here for follow-up. He continues on Breo and albuterol. He is

Orally :
‘ yee D3 nes a ee 1 ae } not currently on Singulair. He still struggles with some exertional _
ly Once a day, Notes: 5000 ‘
. HydrOXYzine HCl 10 MG Tablet as directed i dyspnea. He is also not sleeping well. He describes nocturnal
Orally ‘ dyspnea and “panic attacks." He does snore some. It does not sound, ,
. Albutesal Sulfate (2.5 MG/3ML) 0.083% ‘| as though it is loud. He had asleep study about 10 years ago which -
Nebulization Solution 3 ml as needed ! was apparently negative.

Inhalation every? ':rs i ‘ ‘
. eee 200-25 MCG/INH Aerosol : Vital Signs aadd |.

Powder Breath Activated 1 puff Inhalatio 3

Ones a dar ritisc ee using, Notes: _ Ht 69 in, Wt 252 Ibs, BMI 37.21, Weight Change 1 1b, BP mains, HR

Written Order Pe: Provider i 56, Oxygen sat % 93 RA REST.
¢ Breo Ellipta2o0. .; MCG/INII Aerosol i

Powder Breath Activated 1 puffInhalation | Examination
Once a day, Notes: Verbal order per : PULMONARY:
Boning : General: no acute distress.
+ Singulair 10 MG ‘Tablet 1 tablet Orally Once Head: atraumatic, normocephalic. a
aday — ” " Eyes: pupils reactive to light bilaterally, sclerae anicteric.
; anno! 40 MG Tablet 1 tablet Orally 4 Throat: moist mucous membranes, orophaynx without lesions.
ly y

+ Metoprolol Tartr:::--25MG Tablet itablet Neck: supple, no thyromegaly, jugular venous pressure within wo:
with food Orally’. ::ice a day : normal limits.

+ AsmanexHFA®: © s!CG/ACT Aerosol2 i Respiratory: normal respiratory effort, decreased breath sounds
a Inhalatiost’. «jib doy ‘ | bilaterally, no crackles or wheezes.

. wan the patient reitealcrTee SCONE ; Cardiovascular: normal rate, regular rhythm, no murmur. |

i Gastrointestinal: abdomen soft, non-tender, normoactive howe},
sounds.
tl

Past Medic: ! History Neurology: moves all extremities,

Asthma. j

Reported history of ARDS. i Psych: alert and oriented x 3, normal affect.
Dyslipidemia, ‘ Extremities: no cyanosis, clubbing, or edema.
Neuropathy. = Spirometry performed June 7, 2019 revealed severe restriction

with significant bronchodilator response, Best FVC was 2.39 L
representing 51% of predicted.

Chest CT scan performed July 17, 2019 was unremarkable.

Lab work from June 7, 2019 significant for IgE level of 232 and
eosinophil level of 0.2. ‘

Family His =
Mother: unkno::
Father: unknow

Social His

Alcohol Use
Patient does nt use alcohol Assessments

Tobacco Status ‘ 5
Patient is a neser smoker 1. Unspecified asthma - J45.909 (Primary)

MART Se aS) or SN RSE Fer cee

2. Restrictive pattern present on pulmonary function testing - -Ro4.2 -
Allergies : 3. Nonsmoker - Z78.9 We eR
N.K.D.A. 4. Snoring - Ro6.83

#
t
i

Patient:i. .s,JohnS DOB: 02/08/1963 Progress Note: CHARLES J. WRAY, MD 01/17/2020
Case 2:20-CVv-O00 Sibte gdnitdied thr RSiworts BREAD Scie hed wuwdegealerklcahy PagelD #: 1058

bess OZOzZ-91L-<L “wed 9S:£7:20 6L09CPESLO
Page 2 of 3

' 5. Chronic fatigue, unspecified - R53.82 a iat
History of chemical inhalation 2009.

i Treatment

1. Snoring

Referral To:Center Centennial Medical Sleep Medicine
4s Reason: HOME SLEEP

: STUDY|PRECERT/SCHEDULE/CONFIRM

i 2. Chronic fatigue, unspecified

! Referral To:Center Centennial Medical Sleep Medicine
‘ Reason: HOME SLEEP

, STUDY|PRECERT/SCHEDULE/CONFIRM

: 3. Others i. 32
; Refill Albuterol Sulfate Nebulization Solution, (2.5 MG/3ML)* " ¥".
0.083%, 3 mlas needed, Inhalation, every 8 hrs, 30 days, 100, Refills
5, Notes: Written Order Per Provider

Refill Breo Ellipta Aerosol Powder Breath Activated, 200-25
MCG/INH, 1 puff, Inhalation, Once a day, rinse mouth after using,

30 days, 1 Inhalers, Refills 5, Notes: Written Order Per Provider

: Refill Singulair Tablet, 10 MG, 1 tablet, Orally, Once a day, 30 days,

: 30, Refills 5, Notes: Written Order Per Provider

i Clinical Notes:

AOE

: Continue Breo 200 meg once daily. Rinse mouth afterwards. We will :
| represcribed Singulair 10 mg p.o. daily. Also prescribe albuterol nebs
: q.4 hours as needed. I do have some concern for obstructive sleep
apnea. Refer for home sleep study. We briefly discussed CPAP a

: therapy. Up-to-date on vaccinations. Reviewed action plan. Return’,
to clinic in 6 months or sooner if needed. Ts

Ser. Hee astEM *B!

Follow Up
6 Months

COWRA

SBME EAS orees lo rice Loe

: Electronically signed by CHARLES WRAY , MD on
i 01/19/2020 at 09:44 AM CST

, Sign off status: Completed

ween scaeenzag carr

Patient: Mias, JohnS DOB: 02/08/1963 Progress Note: CHARLES J. WRAY, MD 01/17/2020

Case 2:20-cv-000Séle geBece Br ecinRiwont Hall wctine wwweageieiebay PagelD #: 1059 -
pea OzOz-9L-CL ‘wd LE:8t:20 6LZO9ZVESLO
Page 3 of 3

303111FSC FRIST CLINIC SPECIALTY
330 23RD AVE N
SUITE 500
NASHVILLE, TN 372031661 sas ages
Tel: 615-342-5900 : ee
Fax: 615-342-7863 .

ais Sumas awsra.e

Patient: Maas, JohnS DOB: 02/08/1963 Progress Note: CHARLES J. WRAY, MD 01/17/2020 - .
Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)

Case 2:20-cv-00051 Document98_ Filed 10/22/21 Page 17 of 34 PagelD #: 1060

vee Oz0z-91L-ZL ‘ud SS:87:20 6L09¢PESILO
ve/8

Page 1 of 2

TRIaSTAR MEDICAL GROUP
The Frist Clinic

Maas, John S

56 Y old Male, DOB: 02/08/1963

Home: 931-935-0449

Account Number: 8X101868423
505 Ripley Road, SPARTA, TN-38583

Guarantor: Maas, John S_ Insurance: MEDICARE TN

PART B Payer ID: SMTNo
Appointment Facility: 303111FSC FRIST CLINIC SPECIALTY

07/17/2019

Current Mec:.
Taking

Albuterol Sulfate }1F.A
MCG/ACT Aerosol Su,

‘Ss

148 for Base)
uit. 4 puffs as

needed Inhalation every .: !:rs

Singulair 10 MG Tal: 1: ct Orally Once

aday

Lisinopril 40 MG Table: 1 tablet Orally

Once a day

Metoprolol Tartrate 25 >.1G ‘l'ablet 1 tablet

with food Orally Twice
Gabapentin 600 MG:
Orally

aday
nhlet as directed

Vitamin Dg 1000 UN?" 6.1 tablet

Orally Once a day, Ni:
Asmanex HFA 200 iM!‘
puffs Inhalation Twi:

HydrOXYzine HCl 1:0 3:.: \blet as directed

Orally
Albuterol Sulfate (2.5 :

ver 5000 IU
“CF Aerosol 2

1 wiL) 0.083%

Nebulization Solution ©: :.:' ss needed

Inhalation every 8 hrs

Medication List reviews! »nd reconciled

with the patient

Past Medica! °
Asthma.

ry

Reported history of «11:

Dyslipidemia.
Neuropathy.

Family Hist .
Mother: unknown
Father: unknown

Social Histo:
Alcohol Use

Patient does not us

Tobacco Status

vohol

Patientis anever...-'

Allergies
N.K.D.A

Patient: M:

OzOz-91L-2L

PROGRESS NOTE: CHARLES J. WRAY, MD CHN#: 12856621148;

SoS tae

MT STE hat

Ste ence ses sir

TEER St as Ot

ST RY

' sounds.

Reason for Appointment
1.1 mo. f/u after ct chest

History of Present Iliness

Patient History: #
Here for follow-up. At the last visit, we switched him to Breo. He*.
did seem to like this. When the samples ran out, he switched back to’

Asmanex. He does describe some fairly reproducible exertional
dyspnea. No major exacerbations.

Vital Signs

Ht 69 in, Wt 251 lbs, BMI 37.06, Weight Change 5 lb, BP 120/66, HR,

58, Oxygen sat % 93 ra rest.

Examination
PULMONARY :
General: no acute distress.
Head: atraumatic, normocephalic,
Eyes: pupils reactive to light bilaterally, sclerae anicteric.
Throat: moist mucous membranes, orophaynx without lesions.
Neck: supple, no thyromegaly, jugular venous pressure within “ ,
normal limits. a"

é

“ata
Pa RS

Respiratory: normal respiratory effort, decreased breath sounds -. :

; bilaterally, no crackles or wheezes.

Cardiovascular: normal rate, regular rhythm, no murmur. ':
Gastrointestinal: abdomen soft, non-tender, normoactive bow i

Neurology: moves all extremities,

Psych: alert and oriented x 3, normal affect.

Extremities: no cyanosis, clubbing, or edema.

Spirometry performed June 7, 2019 revealed severe restriction
with significant bronchodilator response. Best FVC was 2.39 L
representing 51% of predicted.

Chest CT scan performed July 17, 2019 was unremarkable. I
personally reviewed this film. 4

Lab work from June 7, 2019 significant for IgE level of 232 and :
eosinophil level of 0.2.

Assessments
1. Unspecified asthma - J45.909 (Primary)
2. Dyspnea, unspecified type - Ro6.00

~ Ae

3. Restrictive pattern present on pulmonary function testing - Ro4. 3%

4. Nonsmoker - Z78.9

-S DOB: 02/08/1963 Progress Note: CHARLES J. WRAY, MD 07/17/2019 . -
Case 2:20-cv-0005 Ve e@eu BAe On RBWorkkiaePl dete iw baaMvGiabay PagelD #: 1061

‘uid 90:67:70

6L09ZVESLO
Page 2 of 2

History of chemical inhalation 2009
Albuterol MDI causes a headache.

Treatment

' 4. Others

Start Breo Ellipta Aerosol Powder Breath Activated, 200-25
MCG/INH, 1 puff, Inhalation, Once a day, rinse mouth after using,
30 days, 1 Inhalers, Refills 11, Notes: Written Order Per Provider
Notes: breo 200mg 1 puff daily sample given, has been using.
Clinical Notes:

2 PRT ar

ce ET y+

Sere

We discussed his testing results. The normal CT scan is reassuring.? (2
Continue Breo 200 meg once daily. Rinse mouth afterwards. Provide
samples and scripts. Continue Singulair 10 mg p.o. daily. Continue:
albuterol nebs as needed. Reviewed action plan. Return to clinic in 6°”
months or sooner if needed. 15 min spent in patient care.

Te oe.

Fie oT

Follow Up
6 Months

STS AR a nat 2
+

CSWhay Bette

: Electronically signed by CHARLES WRAY »>MD on
07/17/2019 at 04:43 PM CDT

Sign off status: Completed

Mt! oS etmgerruesees

303111FSC FRIST CLINIC SPECIALTY
330 23RD AVE N
I SUITE 500
4 NASHVILLE, TN 372031661
Tel: 615-342-5900
: Fax: 615-342-7863

KEE

Patient: Ma:i:: iS DOB: 02/08/1963 Progress Note: CHARLES J. WRAY, MD 07/17/2019

‘ule generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com) ae

Vs
1

Case 2:20-cv-00051 Document98- Filed 10/22/21 Page 19 of 34 PagelD #: 1062
v2/6 OZ0@-91L-ZL ‘wd Lv6r:Z0 6L09¢PESL9
Page 1 of 3

a Maas, John S
: 56 Y old Male, DOB; 02/08/1963
Account Number: 8X101868423

TRIAST: TEDICAL GROUP 505 Ripley Road, SPARTA, TN-38583

Home: 931-935-0449

e a e
4 Guarantor: Maas, JohnS Insurance: MEDICARE TN
Th ist Clinic , PART B Payer ID: SMTNo
Appointment Facility: 303111FSC FRIST CLINIC SPECIALTY
06/07/2019 PROGRESS NOTE: CHARLES J. WRAY, MD CHN#: 1285662148
i
Current Med: 5 ; Reason for Appointment
Taking 1 1, Asthma ~
* Albuterol Sulfate Ir : "9 per) I 2 yee OO
MCG/ACT Aerosoi :. : puffs as * ge ; Rasy go TF
needed Inhafation : History of Present Hiness
* Singulair 10 MGT... vt Orally Onee * Patient History: History: .
ada } 56-year-old white male nonsmoker referred by Jeanne a
* Lisinopril 4o MG Ti’ ‘et Orally ; Thompson for pulmonary evaluation. He was apparently previously‘ «.
. oe ay Tartrate “ablet itablet. | followed by Dr. Henson in Cookeville. He relates a history of asthma’
with food Orally Twi. i ; which she dates back to a chemical exposure in 2009. He was ae
+ Gabapentin 600 MG is directed { involved in cleaning up the BP oil spill. He tells me that the chemical
Orally .. ; was Corxit 9500 / 9527. He recalls burning in his eyes and lungs at .
. OtboLe eo bie : that time. He had progressive symptoms and began receiving care an
: : as : : for this in 2015. His current regimen includes Singulair, Asmanex,
Asmanex HFA 200 : I" Aerosol 2 f : .
puffs Inhalation Tv: ; and albuterol. He tells me that the albuterol MDI gives hima
Ou HCl: ‘let asdirected ; headache but that the nebulized albuterol does not. He has oxygen
7 ‘ which she wears at night. He does frequently have a productive
Pee foes 3% cough. He complains of significant exertional dyspnea, wheezing, ae
Inhalation every 8 ; : and chest tightness. He has also begun having some difficulty: °°!)
* Medication List revi \reconciled | smelling. He apparently underwent a sleep study several years ago -.. ...
with the patient i which he tells me was negative. a
Past Medica’ vy } Vital Signs
Asthma. : Ht 69 in, Wt 246 Ibs, BMI 36.32, BP 130/68, HR 66, Oxygen sat % ~
Reported history: ? 93 RAREST. BS
Dyslipidemia. i , me
Neuropathy. | Examination
Surgical His ; PULMONARY: . » vet
Spine surgery 200° : General: no acute distress.
Umbilical hernia s:. 10 : Skin: no rash,
Rotator cuff surger: : Head: atraumatic, normocephalic.
as . u Eyes: pupils reactive to light bilaterally, sclerae anicteric.
Family Hist: f Nose: her bilaterall 5 ” os
Mother: unknown I : ; y- ee ces cts tie, adh
Father: unknown ; Throat: moist mucous membranes, orophaynx without lesions.

. . E Neck; supple, no thyromegaly, jugular venous pressure within «+
ron Histo * normal limits. grt
Alcohol Use % : : :

Patient does not “ol i SSepuralOrys nomial respiratory effort, decreased breath sounds .
Tobacco Status uaterally, no crackles or wheezes.

Cardiovascular: normal rate, regular rhythm, no murmur.

Gastrointestinal: abdomen soft, non-tender, normoactive bowel
sounds.

Neurology: moves all extremities.

Psych: alert and oriented x 3, normal affect.

Lymph: no cervical or supraclavicular lymphadenopathy.

Patientis a ney

Allergies
N.K.D.A.

Review of S ;

DAS 8? ere teas

Multi-system revic: | from patient oe : :
questionnaire, Peri tives and Extremities: no cyanosis, clubbing, or edema.
“AE
alae a"
Patient: Ma ‘S DOB: 02/08/1963 Progress Note: CHARLES J. WRAY, MD 06/07/2019

Case 2:20-cv-0005 1° 9° EIRed AY RGIS BVorksEH EMM BIRBI2 dwn. deamenaaoey PagelD #: 1063’

ZvESLO
vz/0L Oz0z-91-ZL ‘wird 10:05:20 6209
ves be

negatives as per his"
Otherwise negative

‘sent illness.

meaéntet. vai

Page 2-of 3

Spirometry performed June 7, 2019 revealed severe restriction

' with significant bronchodilator response. Best FVC was 2.39 L

representing 51% of predicted.

Assessments

| 1. Unspecified asthma - J45.909 (Primary)
: 2. Dyspnea, unspecified type - Ro6.00 ot
3. Restrictive pattern present on pulmonary function testing - R94.2

4. Nonsmoker - 278.9

History of chemical inhalation 2009
Albuterol MDI causes a headache.

: Treatment
' 1. Dyspnea, unspecified type

LAB: CBC W/DIFF(CENT-CBCD)
LAB: IMMUNOGLOBULIN E(CENT-IGE)
IMAGING: Spirometry Pre and Post (MMIQSPIROPP)

CLEMENTS,KATHY 06/07/2019 12:54:42 PM CDT > DONE

Referral To:Center Centennial Medical

Reason:CT CHEST WITHOUT CONTRAST, ***ANY DAY __

AFTER 12:30***

2. Others

Notes: breo 200meg 1 puff daily to rinse mouth after using samples...
x2 with instructions given to pt.

Clinical Notes: To further evaluate his pulmonary status, I will

: obtain a noncontrast chest CT scan. I have advised him to stop

Asmanex. We will escalate therapy to Breo 200 mcg once daily.
Rinse mouth afterwards. Continue Singulair. Continue albuterol as
needed. I will also obtain an IgE level as well as a CBC with

: differential to assess his eosinophil count in the event that biologic x:
| therapies might need to be considered down the road. Continue: : -.:
: supplemental oxygen at night as needed. Return to clinic in 1 month

or sooner if needed.

: Procedure Codes

94060 SPIROMETRY CHALLENGE

Follow Up
One month

Electronically signed by CHARLES WRAY , MD on
06/07/2019 at 05:17 PM CDT

Patient: Ma:

Oc0¢-91L-ZL

nS DOB: 02/08/1963 Progress Note: CHARLES J. WRAY, MD 06/07/2019
Case 2:20-cv-O0005#e gerBrefedmnetiniQBvork tEAM Oohinre lum. deatpawdkotoa PagelD #:. 1064

“wid 6£:05:Z0

6L09CPESLO
Page 3 of 3

: Sign off status: Completed

; 303111FSC FRIST CLINIC SPECIAL hie.
: 330 23RD AVEN . e
: SUITE 500 _
i NASHVILLE, TN 372031661

Tel: 615-342-5900

Fax: 615-342-7863

Patient: Maa nS DOB: 02/08/1963 Progress Note: CHARLES J. WRAY, MD 06/07/2019
‘ote generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)

Case 2:20-cv-00051 Document98- Filed 10/22/21 Page 22 of 34 PagelD #: 1065
ve/ cl Oc0c-91-CL ‘wd 70:15:20 6LO9CPESLO
vZ/eL

Maas, John §, 1:

q& 931-935-0449

ln
Accession Id: CTO04¢

Page | of 2

303111FSC FRIST CLINIC SPECIALTY

08/1963 330 23RD AVE N SUITE 500, NASHVILLE, TN 372031661
& 615-342-5900

Order Date: 07/17/20

Receiving Physician: V.

Procedure: 07/17/2019 10:24:00 Transcribed: 07/17/2019 10:24:00

¢, CHARLES J Ordering Physician: WRAY, CHARLES

CT- CHES’

REPORT

Exam:
See Below For Re

CENTENNIAL MED:
DEPARTMENT OF I.
2300 PATTERSON
NASHVILLE, TN
PHONE #: 615-3.
FAX #: 615-2

EXAMS:
004075042 CT CHE:

CT of the
History: DY
Comparison:

5 mm contig::
intravenous
request of :
optimizatio:
performed,
the mA and/
reconstruct:

The findine
1. The lung.
2. Evaluatic
contrast. 1
arteries.
3. The ches:
4. There is
upper abdom

Impressic

1. Lungs
2. Ather¢

Maas, John S , M, 02/¢

W/O CONTRAST(CENT-CHECT) as

» CENTER Name: MAAS, JOHN S$

“CAL IMAGING Phys: Wray,Charles J MD

EET DOB: 02/08/1963 Age: 56 Sex: M
03 Acct: M00172326588 Loc: M.cT

590 Exam Date: 07/17/2019 Status: REG CLI
71 Radiology No:

Unit No: M002197296

Reason::
{/O CONTRAST DYSPNEA

tb

: Slices were obtained through the chest without

(rast. No intravenous contrast was administered per
‘rring physician. Per CMS specifications, dose
:chniques including at least one of the following were
‘ppropriate: Automated exposure control, Adjustment of
‘V according to the patient's size, use of iterative
techniques.

as

pear clear of acute infiltrate or mass.

he mediastinal structures is limited without IV

: is atherosclerotic calcification of the coronary
ediastinal structures otherwise appear normal.

-ll structures appear normal.

‘bable sludge within the gallbladder. The visualized
. Structures otherwise appear normal.

Es
rotic calcification of the coronary arteries.

Accession ID: CT004075042

Case 2:20-cv-00051 Document98- Filed 10/22/21 Page 23 of 34 PagelD #: 1066

O¢cO¢-91L-ZL

wd S1:15:Z0 6L09Z7ES1L9
ve/ vl

REPORT

3. Probat

** Elo

kk

CC: Charles J Wr
Dictated Date/'t:
Technologist: C..

Transcribed Datc
Orig Print D/T:

PAGE 1

Maas, John S , M, 02/c°

sludge within the gallbladder.

onically Signed by Gregory D. Smith MD **
on 07/17/2019 at 1032 we
Reported and signed by: Gregory D. Smith, MD

MD

07/17/2019 (1024)
T. Blanton; Laura Deimel, RT(R) (CT)
ne: 07/17/2019 (1024)
)7/17/2019 (1034)
BATCH NO: N/A

Signed Report

Page 2 of 2

Accession ID: CT004075042

Case 2:20-cv-00051 Document98- Filed 10/22/21 Page 24 of 34 PagelD #: 1067

OzO0¢-91L-<L

“wd 6E:15:20

6LO9CPESLO
Spirometry Report

Midmark Diagnostics Group
1125 W. 190th Street
Gardena, California 90248

Name: John S Maas - Age: 56 years Race: Caucasian

ID: 101868423 Height: 69 inches Weight: 240 Ibs.

Sex: Male Indication:

Smoker: No. Medications:

COPD Risk: Very High Lung Age: > 84 years

Requested By: WRAY, CHARLES J Performed By: KC

Test Date: 06/07/19 12:56:03 Sensor S/N: 552819

Test Date Post: 06/07/19 13:10:29 Sensor Calibrated: 06/07/19 08:39:35

Press/Temp. 760 mmHg,/77 degrees F Spiro Control Ver: 8.4.1

Bronchodilator: Normals/Interp.: Crapo/ATS (1991)

. . Pre-Bronchodilator Post-Bronchodilator % Change
Measurement Units | Predicted Actual % Pred. Artie % Pred.
FVC L 4.67 1.68 36 % 2.39 51 % 43 %
FEV1 L 3.70 1.22 33 % 1.68 45 % 37 %
FEV1/FVC % 19% 73 % 92 % 70 % 89 % 3%
FEF25% L/S 7.84 1.65 21% 1.16 15 % -30 %
FEF50% L/S 4.40 1.64 37% 1.83 42 % 12%
FEF75% L/S 1.66 0.40 24% 0.73 44% 85 %
FEF25-75% L/S 3.58 1.01 28 % 1,43 40 % 43 %
PEF L/S 8.52 1.85 22 % 1.93 23 % 4%
4.18 4.58 10%
0,07 0.18 161%

Pee Bee de eee ne ete oe

pp rrteretseecteecnececee cece benseensecncsedertesesenterech es sesennnnssedeensnesneeewed

*
tote teeweneeee fessee

aan eee ie

eee eee reer heen ed

Pred F¥G

PTT Tee ene eda ee anemone hee semen eta hea nenen eae saedesistes ccnewesencccscet
*

meses ttseeqeeressescsccesbrorstssecsccsbereecseceetsadecceeeeneretecbenen red

Ee eee RR nee e enema neem ees wen c ena en anne atteencccecechanacced

——— Best Pre-Bronchodilator

Pre-BDFVC: 4 attempted, 3 accepted, 2 matches,
Post BD FVC: 4 attempted, 4 accepted, 2 matches.

Best Post Bronch

odilator

7
Time (S)

Interpretation:

Severe restriction. Post bronchodilator test markedly improved.

Unconfirmed Report

Midmark Biagnostics Seypoy-O0051

ve/ Sl

OZ0¢-91L-ZL

DOCUNSeMWa® Bersiox= 8A 10/22/21 PrimBAGAGAD O5.084sPagelD #: 1068

"wd L§:15:20

Page | of 1
6L09CPESLO
BURGER, SCOTT & MCFARLIN’

AN ASSOCIATION OF ATTORNEYS

12 PUBLIC SQUARE NORTH
MURFREESBORO, TENNESSEE 37130

—— RopNeEy M. Scotr
WM. KENNERLY BURGER
CurisTIAN K. BURGER TELEPHONE (615) 893-8933 BEN HALL (TREY) MCFARLIN, ITI

CLAIRE BURGER PERKINS FACSIMILE (615) 893-5333
KENBURGER@COMCAST.NET

November 23, 2020

Dr. Charles J. Wray
The Frist Clinic . a
2400 Patterson Street, Suite 400 wee
Nashville, TN 37203 ee

Re: John Scott Maas.—~ ~ he

John Scott Ma eV _ ans ~ 4 3P_American
Product a oS eg April 20, 2010)
U.S.D.C. Civil Av v yw 5
—
Dear Dr. Wray: z ss — \
& PY ee
Please find enclosed an execu a ai as, ation. This
«U5 “ Gq cs

office is presently assisting your patien Xe \o GS. ‘ain to his
work on the Deepwater Horizon cleanup , .* UA .. Maas has
recently moved to the : Sparta, Tennessee ai & x ig “_avered fo the United
States District Court fot thé Middle Distric. co ie

Concisely summarized, Mr. Maas, as a -at captain, was exposed on a daily basis
to the chemical “Corexit” which was used as . udlizing agent for crude oil. At the time, BP

represented the very effective neutralizing agent as being “as safe as Dawn dishwashing soap.” As
you may be aware, it was ultimately determined that that information was patently false, and that it
produces highly toxic results when combined with crude oil. Mr. Maas has advised me that for a
period of about two months, he breathed the fumes generated by that chemical reaction, and his
clothes were soaked, for eight to ten-hour workdays. It is my understanding that he did not
immediately manifest anything other than minor, annoying symptoms. However, those symptoms
apparently continued to impact Mr. Maas, as he found it increasingly difficult to perform the
strenuous work that had been his life’s ambition. Upon retiring at an early age, he eventually
relocated to Middle Tennessee in about 2014. It is my understanding that his medical treatment in
Mississippi was relatively minimal, and he was diagnosed with some type of respiratory chemical
damage occurred at the Cookeville Regional Medical Center, prompting the referral to your office
for evaluation and treatment. Mr. Maas has been very complimentary of your attentive treatment.

Case 2:20-cv-00051 Document98- Filed 10/22/21 Page 26 of 34 PagelD #: 1069
v2/9L OcO0¢-91-<L ‘wd 61:25:20 6LO9ZPESLO
ves ct

Because I have entered this matter at a late date, I need to expedite, if possible, Mr, Maas’
response to the medical disclosures that must be filed in his litigation. If possible, could you please
provide a brief narrative report that will summarize your thoughts regarding the central, medical
causation issue. Concisely stated, are the matters for which you are presently treating Mr. Maas “...

upon reasonable medical certainty ...” probably a result of the Corexit exposure?

Also, may I please request a complete copy of your office treatment chart, including any tests
that have been performed. If you will advise me of the costs for your report, we will insure that it is
paid immediately.

Sincerely,

BURGER, SCOTT & McFARLIN

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WKEB/tlt
Enclosure

cc: = Mr. John S. Maas
Mr. Christian K. Burger
Ms. Claire Burger Perkins
Mr. Trey McFarlin

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OMPLIANT AUTHORIZAT
CONFIDENTIAL MEDICAL INFORMS EASE

Pursuant to the provisions of 45 CFR | 64.508(c)(1)-(3) and related statutory and regulatory requirements,

the undersigned individual authorizes the release of confidential medical information to the person, or class of
persons, designated below, for the purposes described:
Patient’s Full Name: John Scott Maas

Date of Birth: OQ2 ~O¥ -/ Yi 3 Social Security Number: ee

1. Description of the information to be used or disclosed: Any and all medical and healthcare-

related information pertaining to the undersigned individual, including but not limited to, records,

documents, correspondence, photographs, audio or video recordings, X-ray, Ci, MRI, or other similar
graphic depictions, tangible or computer-generated model work and/or impressions, information about the

generation, storage and/or maintenance of the above-named patient’s medical information, and billing
information specifically showing itemized charges, payments, adjustments, write-offs, and balance

information, without condition or restriction.

a The name or other specific identification of the person or class of persons authorized to make the

requested use or disclosure shall be: Any and all health care providers who have at any time provided health
care services for the benefit of the undersigned individual, including but not limited to any and all medical

practitioners, physicians, pharmacists, hospitals, clinics, nurses, records custodians, or anyone else

maintaining possession or control over the requested records.

3. The name of the person or class of persons to whom the covered entity (the health care provider
or record custodian) may make the requested use or disclosure:

Name: Wm. Kennerly Burger and/or Christian K. Burger

Address: 12 Public Square North, Murfreesboro, Tennessee 37130
and their agents, contractors, employees, representatives, affiliates, and assigns as necessary to fulfill the

purpose of this disclosure.
Page 1 of 2

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An official website of the United States government.

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COREXIT™ EC9500A

TECHNICAL PRODUCT BULLETIN #D-4

USEPA, OEM REGULATIONS IMPLEMENTATION DIVISION
ORIGINAL LISTING DATE: APRIL 13, 1994

REVISED LISTING DATE: DECEMBER 18, 1995
"COREXIT™ EC9500A"

I, NAME, BRAND, OR TRADEMARK

COREXIT™ EC9500A
Type of Product: Dispersant
(formerly COREXIT 9500)

II. NAME, ADDRESS, AND TELEPHONE NUMBER OF MANUFACTURER/CONTACT

Corexit Environmental Solutions LLC
11177 South Stadium Drive

Sugar Land, TX 77478

Product Management:

Mobile: (832) 851-5164

E-mail: debby.theriot@corexit.com
(Ms. Debby Theriot)

Ill. NAME, ADDRESS, AND TELEPHONE NUMBER OF PRIMARY DISTRIBUTORS

Corexit Environmental Solutions LLC
11177 South Stadium Drive

Sugar Land, TX 77478

Product Management:

Mobile: (832) 851-5164

E-mail; debby.theriot@corexit.com
(Ms. Debby Theriot)

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IV. SPECIAL HANDLING AND WORKER PRECAUTIONS FOR STORAGE AND FIELD
APPLICATION

1. Flammability:

IMO: Non-flammable; DOT: Non-hazardous.

2. Ventilation:

Use with ventilation equal to unobstructed outdoors in moderate breeze.

3. Skin and eye contact; protective clothing; treatment in case of contact:

Avoid eye contact. In case of eye contact, immediately flush eyes with large amounts of water for at
least 15 minutes. Get prompt medical attention. Avoid contact with skin and clothing. In case of skin
contact, immediately flush with large amounts of water, and soap if available. Remove contaminated
clothing, including shoes, after flushing has begun. If irritation persists, seek medical attention. For
open systems where contact is likely, wear long sleeve shirt, chemical resistant gloves, and chemical
protective goggles.

4.a. Maximum storage temperature: 170°F

4.b. Minimum storage temperature: -30°F

4.c. Optimum storage temperature range: 40°F to 100°F

4.d. Temperatures of phase separations and chemical changes: None

V. SHELF LIFE

The shelf life of unopened drums of COREXIT™ EC9S500A is unlimited. Containers should always
be capped when not in use to prevent contamination and evaporation of solvents.

VI. RECOMMENDED APPLICATION PROCEDURE

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VI. RECOMMENDED APPLICATION PROCEDURE

https /Iwww.epa.gov/emergency -response/corexittm-ec9500;

1. Application Method:

COREXIT™ EC9500A contains the same surfactants present in COREXIT™ EC9527A and a new
improved oleophilic solvent delivery system.

Aerial Spraying - Aircraft provide the most rapid method of applying dispersants to an oil spill anda
variety of aircraft can be used for spraying. For aerial spraying, COREXIT™ EC9500A is applied
undiluted. Typical application altitudes of 30 to 50 feet have been used, although higher altitudes may
be effective under certain conditions. Actual effective altitudes will depend on the application
equipment, weather and aircraft. Careful selection of spray nozzles is critical to achieve desired dose
levels, since droplet size must be controlled. Many nozzles used for agricultural spraying are of low
capacity and produce too fine a spray. A quarter-inch open pipe may be all that is necessary if the
aircraft travels at 120 mph (104 knots) or more, since the air shear at these speeds will be sufficient to
break the dispersant into the proper sized droplets.

Boat Spraying - COREXIT™ EC9500A may also be applied by workboats equipped with spray
booms mounted ahead of the bow wake or as far forward as possible. The preferred and most effective
method of application from a workboat is to use a low-volume, low-pressure pump so the chemical
can be applied undiluted. Spray equipment designed to provide a five to ten percent diluted dispersant
solution to the spray booms can also be used. COREXIT™ EC9500A should be applied as droplets,
not fogged or atomized. Natural wave or boat wake action usually provides adequate mixing energy to
disperse the oil. Recent tests have indicated that a fire monitor modified with a screen cap for droplet
size control may also be useful for applying COREXIT™ EC9500A. Due to the increased volume
output and the greater reach of the fire monitor, significantly more area can be covered in a shorter
period of time.

System Calibration - Spray systems should be calibrated at temperatures anticipated to insure
successful application and dosage control. Application at sub-freezing temperatures may require larger
nozzle, supply lines and orifices due to higher product viscosity.

2. Concentration/A pplication Rate:

A treatment rate of about 2 to 10 US. gallons per acre, or a dispersant to oil ratio of 1:50 to 1:10 is
recommended. This rate varies depending on the type of oil, degree of weathering, temperature, and
thickness of the slick.

3. Conditions for Use:

As with all dispersants, timely application ensures the highest degree of success. Early treatment with
COREXIT™ EC9S500A, even at reduced treat rates, can also counter the "mousse" forming tendencies
of the spilled oil. COREXIT™ EC9SO00A is useful on oil spills in salt water.

VII. TOXICITY AND EFFECTIVENESS

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VII. TOXICITY AND EFFECTIVENESS

https /Iwww.epa.gov/emergency -response/corexittm-ec9500:

a. Toxicity
Material Tested Species Heal
(ppm)
Menidia
beryllina 25.20 96-hr
M
COREXIT™ EC9S00A Mysidopsis 32.23 48-hr
bahia
Menidia
. beryllina 10.72 96-hr
No: 2Fuel Oil Mysidopsis 16.12 48-hr
bahia
Menidia
COREXIT™ EC9500A & No. 2 Fuel Oil beryllina 2.61 96-hr
(1:10) Mysidopsis 3.40 48-hr
bahia
Menidia
. beryllina 7.07 96-hr
Reference Toxicant (SDS) Mysidopsis 9.82 48-hr
bahia

rates for field use.
b. Effectiveness:

AND PRUDHOE BAY (P/B) CRUDE OILS

SWIRLING FLASK DISPERSANT EFFECTIVENE

NOTE: This toxicity data was derived using the concentrated product. See Section VI of this bulletin
for information regarding the manufacturer's recommendations for concentrations and application

SS TEST WITH SOUTH LOUISIANA (S/L)

Oil Effectiveness (%)
Prudhoe Bay Crude 45.3%
South Louisiana Crude 54.7%
Average of Prudhoe Bay and South Louisiana Crudes 50.0%

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VIII. PHYSICAL PROPERTIES

1. Flash Point: 181.4°F

2. Pour Point: Less than -71°F

3. Viscosity: 22.5 cst at 104°F

4. Specific Gravity: 0.949 at 60°F

5. pH: 6.2

6. Chemical Name and Percentage by Weight of the Total Formulation: CONFIDENTIAL
7. Surface Active Agents: CONFIDENTIAL

8. Solvents: CONFIDENTIAL

9. Additives: None

10. Solubility: Miscible

Ix. ANALYSIS FOR HEAVY METALS, CYANIDE, AND CHLORINATED
HYDROCARBONS

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IX. ANALYSIS FOR HEAVY METALS, CYANIDE, AND CHLORINATED
HYDROCARBONS
Compound Concentration (ppm)
Arsenic 0.16
Cadmium N/D
Chromium 0.03
Copper 0.10
Lead N/D
Mercury N/D
Nickel N/D
Zine N/D
Cyanide N/D
Chlorinated Hydrocarbons N/D
N/D = Not detected

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